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 B 210A (Form 210A) (12/09)



                          UNITED STATES BANKRUPTCY COURT
                                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 In re        TERRY HALL                                           ,                                Case No.             08-51286




                      TRANSFER OF CLAIM OTHER THAN FOR SECURITY
 A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
 hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
 than for security, of the claim referenced in this evidence and notice.


      East Bay Funding, LLC                                                 Roundup Funding, LLC
          Name of Transferee                                                          Name of Transferor

Name and Address where notices to transferee                               Court Claim # (if known):            7
should be sent:                                                            Amount of Claim:                    $799.54
          East Bay Funding, LLC
                                                                           Date Claim Filed:                    12/11/2008
          c/o Resurgent Capital Services
          PO Box 288
          Greenville, SC 29603-0587
Phone: (877) 264-5884                                                      Phone: (866) 670-2361
Last Four Digits of Acct #:             8282                               Last Four Digits of Acct. #:            U646



Name and Address where transferee payments
should be sent (if different from above):




Phone:
Last Four Digits of Acct #:


I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:      /s/ Susan Gaines                                                  Date:          04/29/2013

          Transferee/Transferee’s Agent




 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
